Case: 1:01-cr-00348 Document #: 381 Filed: 11/26/02 Page 1 of 20 PageID #:2255
Case: 1:01-cr-00348 Document #: 381 Filed: 11/26/02 Page 2 of 20 PageID #:2256
Case: 1:01-cr-00348 Document #: 381 Filed: 11/26/02 Page 3 of 20 PageID #:2257
Case: 1:01-cr-00348 Document #: 381 Filed: 11/26/02 Page 4 of 20 PageID #:2258
Case: 1:01-cr-00348 Document #: 381 Filed: 11/26/02 Page 5 of 20 PageID #:2259
Case: 1:01-cr-00348 Document #: 381 Filed: 11/26/02 Page 6 of 20 PageID #:2260
Case: 1:01-cr-00348 Document #: 381 Filed: 11/26/02 Page 7 of 20 PageID #:2261
Case: 1:01-cr-00348 Document #: 381 Filed: 11/26/02 Page 8 of 20 PageID #:2262
Case: 1:01-cr-00348 Document #: 381 Filed: 11/26/02 Page 9 of 20 PageID #:2263
Case: 1:01-cr-00348 Document #: 381 Filed: 11/26/02 Page 10 of 20 PageID #:2264
Case: 1:01-cr-00348 Document #: 381 Filed: 11/26/02 Page 11 of 20 PageID #:2265
Case: 1:01-cr-00348 Document #: 381 Filed: 11/26/02 Page 12 of 20 PageID #:2266
Case: 1:01-cr-00348 Document #: 381 Filed: 11/26/02 Page 13 of 20 PageID #:2267
Case: 1:01-cr-00348 Document #: 381 Filed: 11/26/02 Page 14 of 20 PageID #:2268
Case: 1:01-cr-00348 Document #: 381 Filed: 11/26/02 Page 15 of 20 PageID #:2269
Case: 1:01-cr-00348 Document #: 381 Filed: 11/26/02 Page 16 of 20 PageID #:2270
Case: 1:01-cr-00348 Document #: 381 Filed: 11/26/02 Page 17 of 20 PageID #:2271
Case: 1:01-cr-00348 Document #: 381 Filed: 11/26/02 Page 18 of 20 PageID #:2272
Case: 1:01-cr-00348 Document #: 381 Filed: 11/26/02 Page 19 of 20 PageID #:2273
Case: 1:01-cr-00348 Document #: 381 Filed: 11/26/02 Page 20 of 20 PageID #:2274
